                                            CIVIL
              Case 1:25-cv-21682-XXXX Document
JS 44 (Rev. 04/21) FLSD Revised 12/02/2022     1-1 COVER
                                                    EnteredSHEET
                                                            on FLSD Docket 04/11/2025 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service o f pleadings or other papers as required by law, except as provided
by local rules o f court. This form, approved by the Judicial Conference o f the United States in September 1974 is required for the use o f the Clerk o f Court for the purpose o f mitiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) iNUTICE: Attorne UST                   Indicate A l l Re-filed Cases Below.
I. (a)       PLAINTIFFS                                                                                             DEFENDANTS

                                   Gabriel Jose De Caires Guerra                                                                             Trans Union, LLC
    (b)     County o f Residence o f First Listed Plaintiff                                                         County o f Residence o f First Listed Defendant
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                              (IN U.S PLAINTIFF CASES ONLY)
                                                                                                                    NOTE:                    IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                             THE TRACT OF LAND INVOLVED.
    (c)     Attorneys (Firm Name, Address, a11d Telephone Number)                                                    Attorneys (lfKnow11)


         Monique N. Reyes, Consumer Rights Law, PLLC 848 Brickell Ave PH Charlotte Ann Long, 555 W . Adams Street Chicago, IL 60661,469-'.
( d) Check County Where Action Arose:             □ MIAMI- DADE □ MONROE □ BROWARD □PALM BEACH □MARTIN □ST. LUCIE □INDIAN RIVER □OKEECHOBEE □HIGHLANDS
II. BASIS OF JURISDICTION                            (Place a11 "X" in O11e Box Only)                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place 011 "X" in O11e Box for Plaintiff)
                                                                                                                 (For Diversity Cases Only)                                     and One Box (or De(endanr)
D I        U.S. Government                        Federal Question                                                                        PTF      DEF                                           PTF DEF
              Plaintiff                           (U.S. Gover11me111 Nor a Party)                     □    Citizen of This State          D I      DI      Incorporated or Principal Place       D 4 D4
                                                                                                                                                           of Business In This State

D 2 U.S. Government                      □4        Diversity                                          □ Citizen of Another State         □2        □ 2 Incorporated and Principal Place              □5 □5
             Defendant                            (Indicate Citizenship of Parties in Item Ill)                                                                 of Business In Another State

                                                                                                           Citizen or Subject of a
                                                                                                           Foreign Country               □     3   □      3 Foreign Nation                           □6 □6
IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                        Click here for: Nature of Suit Code Descriptions
             CONTRACT                                         TORTS                                           FORFEITURE/PENAL TY                       BANKRUPTCY                      OTHER STATUTES
□ 110 Insurance                          PERSONAL INJURY            PERSONAL INJURY                        □  625 Drug Related Seizure       □    422 Appeal 28 USC 158 □ 375 False Claims Act
D 120Marine                            D 310 Airplane            D 365 Personal Injury •                           of Property 21 USC 881    □    423 Withdrawal        □ 376 Qui Tam (31 USC 3729(a))
D 130 Miller Act                       D 315 Airplane Product           Product Liability                  D 690 Other                                  28 use 151        400 State Reapportionment
D 140 Negotiable Instrument                  Liability                  □
                                                                    367 Health Care/                                                                                    □ 410 Antitrust
D 150 Recovery of Overpayment          D 320 Assault, Libel &           Pharmaceutical                                                       INTELLECT1TAL ' ROPE RTY □ 430 Banks and Banking
                                                                                                                                                                 7
                                                                                                                                                       RIGHTS
          & Enforcement of Judgment           Slander                             Personal Injury                                            D 820 Copyrights           □ 450 Commerce
D 151 Medicare Act          D 330 Federal Employers'                              Product Liability                                          D 830 Patent               □ 460 Deportation
  152 Recovery of Defaulted
D Student Loans
                                  Liability
                                                                            368     Asbestos    Personal
                                                                                                                                             D 835New
                                                                                                                                                   Patent - Abbreviated
                                                                                                                                                      Drug Application  □ and
                                                                                                                                                                          470 Racketeer Influenced
                                                                                                                                                                              Corrupt Organizations
                                                                        D Injury Pro<luct Liability                                          D 840 Trademark                         480 C-0nsumer Credit
    (Exel. Veterans)                   D 340 Marine
                                                                                                                                             □ 882c? fe:z8 ! rade Secrets
                                                                                                                                                            t
                                                                                                                                                                                        (15 USC 1681 or 1692)
D 153 Recovery of Overpayment          D 345 Marine Product                                                LABOR                                   SOCIAL SECURITY               □   485 Telephone Consumer
                                                                                                                                                                                     Protection Act (TCPA)
  of Veteran's Benefits                       Liability                  PERSONAL PROPERTY                 □
                                                                                                 710 Fair Labor Standards Acts               0   861 HIA (1395ft)                □   490 Cable/Sat TV
□ 160 Stockholders' Suits              D 350 Motor Vehicle              □ 370 Other Fraud                  □
                                                                                                 720 Labor/Mgmt. Relations                   0   862 Black Lung (923)            □   850 Securities/Commodities/
□ 190 Other Contract                   D 355 Motor Vehicle              □ 371 Truth in Lending             □
                                                                                                 740 Railway Labor Act                       0   863 DIWC/DIWW (405(g))              Exchange
D 195 Contract Product Liability             Product Liability          □ 380 Other Personal   D 751 Family and Medical                      0   864 SSID Title XVI              □   890 Other Statutory Actions
D 196 Franchise                        D 360 Other Personal               Property Damage            Leave Act                               0   865 RSI (405(g))                □   891 Agricultural Acts
                                             Injury                     D 385 Property Damage  D 790 Other Labor Litigation                                                      □   893 Environmental Matters
                                       D 362 Personal Injury •            Product Liability    D 791 Employee Retirement                                                         □   895 Freedom oflnformation Act
                                             Med. Malpractice                                       Income Security Act                                                          □   896 Arbitration
          REAL PROPERTY                     CIVIL RIGHTS                PRISONER PETITIONS                                                       FEDERAL TAX SUITS               □   899 Administrative Procedure
D 210 Land Condemnation                0 440 Other Civil Rights             Habeas Corpus:                                                   □ 870 Taxes (U.S. Plaintiff or
                                                                                                                                               Defendant)
                                                                                                                                                                                     Act/Review or Appeal of
                                                                                                                                                                                     Agency Decision
□ 220 Foreclosure                      0 4 4 1 Voting                  □ 463 Alien Detainee                                                  □ iMRS-Third Party 26 USC □             950 C-0nstitutionality of
                                                                                                                                                                                     State Statutes
□ 230 Rent Lease & Ejectment           D 442 Employment                 D § te tions           to Vacate

□ 240 Torts to Land
□ 245 Tort Product Liability
                                       □  t' ! ::i' fiions              □
                                                                        530 General
                                       D 445 Amer. w/Disabilities - D 535 Death Penalty                   IMMIGRATION
□ 290 All Other Real Property                   Employment              Other:                             □
                                                                                                      462 Naturalization Application
                                       D 446 Amer. w/Disabilities - D 540 Mandamus & Other                 □
                                                                                                      465 Other Immigration
                                                Other                   □
                                                                        550 Civil Rights                  Actions
                                       D 448 Education               D 555 Prison Condition
                                                                        560 Civil Detainee -
                                                                     D Conditions of
                                                                        Confinement
V. ORIGIN                     (Place an "X" in One Box Only)
     I    Original       □   2 Removed      □      3 Re-filed □  4 Reinstated         □
                                                                                     5 Transferred from        D 6 Multidistrict
                                                                                                                                              □ 7 Appeal to              D 8 Multidistrict                    from
          Proceeding           from State             (See VI       or                   another district
                                                                                         (specify)
                                                                                                                    Litigation
                                                                                                                    Transfer                         District Judge            L1hgahon        D 9 Remanded
                                                                                                                                                                                                   Appellate Court
                               Court                  below)        Reopened                                                                                                   - Direct
                                                                                                                                                     from Magistrate
                                                                                                                                                     Jud ment                  File
VI. RELATED/                                (See instructions): a) Re-filed Case        D Y E S D NO                b) Related Cases D Y E S D NO
RE-FILED CASE(S)                                               JUDGE:                                                                               DOCKET NUMBER:

                                            Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement o f Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 15 USC § 1681 et seq.; Plaintiff is suing Defendants for inaccurate and derogatory reporting on his credit reports.
                                            LENGTH OF TRIAL via                      days estimated (for both sides to try entire case)
VIII. REQUESTED IN                           □ CHECK f f THJS IS A C L A S S A C T I O N                       DEMAND$                                   CHECK YES only i f demanded in complaint:
     COMPLAINT:                                  UNDER F.R.C.P. 23
                                                                                                                                                    J U R Y DEMAND:                    Yes         D No
A B O V E I N F O R M A T I O N IS T R U E & C O R R E C T T O T H E B E S T O F M Y K N O W L E D G E
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD

04/11/2025                                                      Monique N. Reyes
FOR OFFICE USE ONLY : RECEIPT#                                 AMOUNT                                                   WDGE                               MAGWDGE
